Case 1:22-cv-01237-RGA Document 225 Filed 08/18/23 Page 1 of 3 PageID #: 18187




              IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF DELAWARE

                In re:                              Chapter 11

      Boy Scouts of America and             Case No. 20-10343 (LLS)
        Delaware BSA, LLC,
                                              (Jointly Administered)
               Debtors.

   National Union Fire Insurance
    Co. of Pittsburgh, PA, et al.,         Case No. 22-cv-01237-RGA
             Appellants.
                  v.                         (Jointly Consolidated)1

      Boy Scouts of America and
        Delaware BSA, LLC,

              Appellees.


          STATEMENT PURSUANT TO LOCAL RULE 7.1.1

      The undersigned hereby certifies that prior to and on August 18,
2023, counsel for the Dumas & Vaughn Claimants and counsel for
Appellees, including Delaware counsel, met and conferred by email and
telephone with respect to the motion. Counsel for Appellees indicated
that they oppose the motion or could not immediately consent to the
motion.

///
///

      1 Case numbers 22-cv-01237, 22-cv-01238, 22-cv-01239, 22-cv-
01240, 22-cv-01241, 22-cv-01242, 22-cv-01243, 22-cv-01244, 22-cv-
01245, 22-cv-01246, 22-cv-01247, 22-cv-01249, 22-cv-01250, 22-cv-
01251, 22-cv-01252, 22-cv-01258, and 22-cv-01263 have been jointly
consolidated under 22-cv-01237.

                                      1
Case 1:22-cv-01237-RGA Document 225 Filed 08/18/23 Page 2 of 3 PageID #: 18188




Dated: August 18, 2023
                                   GELLERT SCALI BUSENKELL &
                                   BROWN LLC

                                    /s/ Charles J. Brown, III
                                    Charles J. Brown, III, Esquire (No.
                                    3368)
                                    1201 N. Orange St., 3rd Floor
                                    Wilmington, DE 19801
                                    Phone: (302) 425-5813
                                    Email: cbrown@gsbblaw.com

                                    - and -

                                    DUMAS & VAUGHN, LLC

                                    /s/ Gilion C. Dumas
                                    Dumas & Vaughn, LLC., admitted pro
                                    hac vice
                                    3835 NE Hancock Street, Suite GLB
                                    Portland, OR 97212
                                    Telephone: (503) 616-5007
                                    Email: gilion@dumasandvaughn.com




                                      2
Case 1:22-cv-01237-RGA Document 225 Filed 08/18/23 Page 3 of 3 PageID #: 18189




                      CERTIFICATE OF SERVICE

      I, Charles J. Brown, III, hereby certify that on August 18, 2023, I

caused a copy of the forgoing STATEMENT PURSUANT TO LOCAL

RULE 7.1.1, to be served on all registered users of the Court’s Case

Management/Electronic Case File (“CM/ECF”) in this case via CM/ECF.


DATED: August 18, 2023             GELLERT SCALI BUSENKELL &
                                   BROWN LLC

                                    /s/ Charles J. Brown, III
                                    Charles J. Brown, III, Esquire (No.
                                    3368)
                                    1201 N. Orange St., 3rd Floor
                                    Wilmington, DE 19801
                                    Phone: (302) 425-5813
                                    Email: cbrown@gsbblaw.com

                                    Counsel for D&V Claimants




                                      3
